SUM2 (8/25/17) krw                UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                           District of Oregon                           DISTRICT OF OREGON
                                                                                               FILED
In re                                             )
 Benjamin Patrick Spalding and Erin Rae           )                                          July 27, 2018
Spalding                                          )   Case No. 18−61765−tmr7          Clerk, U.S. Bankruptcy Court
                            Debtor(s)             )
                                                  )   (NOTE: ALL DOCUMENTS                   BY krw DEPUTY
Benjamin Patrick Spalding                         )   REGARDING THIS MATTER
                                 Plaintiff(s)     )   MUST BE IDENTIFIED BY
                                                  )   BOTH ADVERSARY AND
                          v.                      )   BANKRUPTCY CASE NUMBERS)
University of Oregon,                             )
Heartland ECSI,                                   )   Adv. Proc. No. 18−06048−tmr
United States Department of Education,            )
Great Lakes Higher Education Loan
Services, Inc.
                             Defendant(s)

                        ADVERSARY PROCEEDING SUMMONS AND NOTICE OF TRIAL

To the defendant(s) named in the attached complaint:

You are hereby summoned and required to serve upon Benjamin Patrick Spalding, whose address is 5548
Glacier Dr, Springfield, OR 97478, either a motion or an answer to the attached complaint which is now
served upon you. If you elect to respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012,
that rule governs the time within which your answer must be served. Otherwise, you are required to serve
your answer upon the plaintiff's attorney (or upon plaintiff if plaintiff is not represented by counsel) within 30
days of the date of issuance of this summons by the clerk, except that the United States or an office or
agency thereof shall serve an answer to the complaint within 35 days after the date of issuance of the
summons.

The motion or answer served by you must be filed with the Clerk of Court, 405 E 8th Ave #2600, Eugene,
OR 97401, either before service or within a reasonable time after service. IF YOU FAIL TO RESPOND TO
THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT OR ANY OTHER
APPROPRIATE ACTION CONSISTENT WITH THE PLEADINGS MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

YOU ARE NOTIFIED THAT TRIAL OF THE PROCEEDING COMMENCED BY THIS COMPLAINT SHALL
BE SCHEDULED UPON FURTHER NOTICE FROM THE COURT.

YOU ARE FURTHER NOTIFIED that if you have any questions, you should see your attorney immediately.
If you do not have an attorney and need help in finding one, you may call the Oregon State Bar's Lawyer
Referral Service at (503)684−3763 or toll−free in Oregon at (800)452−7636.


                                                                                 /s/ Charlene M Hiss
                                                                                 Clerk, U.S. Bankruptcy Court


Date of issuance: 7/27/18




                     * * * IMPORTANT − SEE NEXT PAGE FOR FURTHER INFORMATION * * *




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                                        CERTIFICATION OF SERVICE
                                    Adversary Proceeding No. 18−06048−tmr

         I,
                                                    (name)
of
                                               (mailing address)
certify under penalty of perjury:

        That I am, and at all times hereinafter mentioned was, more than 18 years of age;

          That on                (date), I served a copy of the within summons, together with the complaint
filed in this proceeding, on:



the defendant in this proceeding, by (describe here the mode of service):



on the said defendant at:




Executed on
                     (date)                                        (signature)




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